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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

    IN RE:                                            §   CASE NUMBER: 20-30825
    TEXAN SUPER DEALER, INC.,                         §
    DEBTOR(S)                                         §
                                                      §
                                                      §   CHAPTER 7
                                                      §
    PACTUM CAPITAL, LLC, ITS                          §
    SUCCESSORS IN INTEREST AND/OR                     §
    ASSIGNEES,                                        §
                                                      §
    MOVANT                                            §   HEARING ON MOTION
                                                      §   TO LIFT STAY
    VS.                                               §   June 3, 2020
                                                      §
    TEXAN SUPER DEALER, INC.;                         §
    EVA S. ENGELHART, CHAPTER 7                       §
    TRUSTEE; CHASEWOOD, LTD.;                         §
    VICTORIA VILLAGE HOMES, LTD.;                     §
    AND OMERO DEL PAPA, III,
    RESPONDENT(S)                                         TIME: 1:00 pm

                        AGREED ORDER ON AUTOMATIC STAY
                       WITH RESPECT TO PACTUM CAPITAL, LLC
                                  [RELATES TO DOCKET NO. 31]

       Upon consideration of “Pactum Capital, LLC’s First Amended Motion for Relief from

Automatic Stay as to Motor Vehicles” filed by Pactum Capital, LLC (“Pactum”) (Docket No. 31,

amending Docket No. 23), the response filed by the Chapter 7 Trustee (Docket No. 30), the

response filed by creditors, Chasewood, Ltd., Victoria Village Homes, Ltd., and Omero del Papa,

III (“the Objecting Creditors”) (Docket No. 25), and the below agreement of the parties, it is

       ORDERED that the Automatic Stay of 11 U.S.C.§362 is hereby terminated as to each of

the forty (40) vehicles listed on the attached Exhibit “A” and related the Motor Vehicle Retail

Installment Sales Contracts, and Texas Certificates of Title to allow Pactum Capital, LLC, its

successors in interest and/or assigns to pursue all of its rights and remedies including collection on



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notes, and repossession and sale of vehicles pursuant to applicable Texas State Law under all of

the loan documents between Pactum Capital, LLC and Texan Super Dealer, Inc. including all the

documents attached to “Pactum Capital, LLC’s First Amended Motion for Relief from Automatic

Stay as to Motor Vehicles” (Docket No. 31).

       FURTHER ORDERED that the Automatic Stay of 11 U.S.C.§362 is hereby terminated

as to each of the four (4) vehicles listed on the attached Exhibit “B” and related Motor Vehicle

Retail Installment Sales Contracts and Texas Certificates of Title to allow Pactum Capital, LLC,

its successors in interest and/or assigns to pursue all of its rights and remedies including collection

on notes, and repossession and sale of vehicles pursuant to applicable Texas State Law, under all

of the loan documents between Pactum Capital, LLC and Texan Super Dealer, Inc. including all

the documents attached to “Pactum Capital, LLC’s First Amended Motion for Relief from

Automatic Stay as to Motor Vehicles” (Docket No. 31). These four vehicles were subject to

competing lien claims between Pactum and the Objecting Creditors. By the below agreement,

Pactum is entitled to enforce its liens on these vehicles and related Motor Vehicle Retail

Installment Sales Contracts and Texas Certificates of Title.

       FURTHER ORDERED that the automatic stay shall remain in effect as to the six (6)

vehicles listed on the attached Exhibit “C” and related Motor Vehicle Retail Installment Sales

Contracts and Texas Certificates of Title. These six vehicles were subject to competing lien claims

between Pactum and the Objecting Creditors. By the below agreement, Pactum shall not enforce

its claimed liens on these six vehicles or any related Motor Vehicle Retail Installment Sales

Contracts or Texas Certificates of Title. Nothing in this order affects the lien rights in these six

vehicles claimed by the Objecting Creditors.




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       FURTHER ORDERED that the automatic stay shall terminate as to each of the nineteen

(19) vehicles and related Motor Vehicle Retail Installment Sales Contracts and Texas Certificates

of Title listed in the attached Exhibit “D” subject to the following conditions and limitations:

a) Pactum shall not exercise any of its rights unless and until authorized in writing to do so by the
   Chapter 7 Trustee or her attorney.

b) The Chapter 7 Trustee may determine the location of these vehicles, Motor Vehicle Retail
   Installment Sales Contracts or Texas Certificates of Title, and shall retain her rights to
   determine the validity of liens, avoid liens, seek turnover of the vehicles and related Motor
   Vehicle Retail Installment Sales Contracts and Texas Certificates of Title, and take any other
   relief related thereto with respect to the vehicles listed in the attached Exhibit “D”.

c) Pactum shall pay to the Trustee 25% of all funds collected in connection with each of the
   vehicles listed in the attached Exhibit “D” or related Motor Vehicle Retail Installment Sales
   Contracts or Texas Certificates of Title for those vehicles which the Trustee releases collection
   rights to Pactum. Pactum shall provide an accounting to the Chapter 7 Trustee by the 21st day
   after the end of any month in which it receives any such funds.


       SIGNED:




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APPROVED AS TO FORM AND CONTENT:


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                                                                       EXHIBIT A
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                                                                    EXHIBIT B & C
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                                                                       EXHIBIT D
